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 DAVID J. GRECH
 DGRECH@GRSM.COM

 ANDREW J. VARVARO
 AVARVARO@GRSM.COM
                                                                                 ATTORNEYS AT LAW
                                                                          1 BATTERY PARK PLAZA, 28TH FLOOR
                                                                                NEW YORK, NY 10004
                                                                                  WWW.GRSM.COM



                                          March 5, 2025

VIA ECF
The Honorable Lewis J. Liman, U.S.D.J.
United States District Court, Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Tavon Turner v. Deep Roots Harvest, Inc.
               Case No. 1:24-cv-08333-LJL-SDA

Dear Judge Liman,

        We represent Deep Roots Harvest, Inc. in this case. Pursuant to Section 1(D) of Your
Honor’s Individual Practices in Civil Cases and with Plaintiff’s consent, we write to respectfully
request an extension of time for Defendant to answer, move, or otherwise respond to the complaint.

         By Order, dated February 12, 2025, the Court referred this case to the Court-annexed
Mediation Program. On March 3, 2025, we received our initial communication from the Court’s
Mediation Office. The parties have until March 10, 2025 to confer and select a date when all
counsel and clients are available for a mediation session. The options proposed by the Mediation
Office include dates in March and April, with the latest being April 30, 2025. The parties have
begun to confer and are currently targeting an April date. Thus, Defendant respectfully requests
that its time to respond to the complaint be extended to May 7, 2025.

        It is respectfully submitted that Defendant’s resources, at this juncture, would be better
expended pursuing a mediated resolution with Plaintiff rather than preparing a formal response to
the complaint. Moreover, positions taken by Defendant, should it be required to submit its formal
response to the complaint in advance of the parties’ mediation, might make negotiations more
complicated and perhaps less conducive to resolution. This is Defendant’s fourth request for an
extension of time to respond to the complaint. The prior requests were granted. We would have
made the instant request earlier but wanted to ensure that we had secured Plaintiff’s consent, which
we did through communications earlier today. Should the requested extension be granted, no other
dates or deadlines in this case would be affected. We greatly appreciate the Court’s attention this
matter.

                                              Respectfully submitted,

                                              /s/ David J. Grech
                                              David J. Grech
                                              Andrew J. Varvaro
